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 1
                                     UNITED STATES DISTRICT COURT
 2
                                  NORTHERN DISTRICT OF CALIFORNIA
 3     IN RE JUUL LABS, INC., MARKETING,     )
       SALES PRACTICES, AND PRODUCTS         )           Case No. 3:19-MD-02913-WHO
 4     LIABILITY LITIGATION,                 )
                                             )           Honorable William H. Orrick
 5     This Document Relates to:             )
                                             )           NOTICE OF CHANGE OF FIRM OF
 6     ALL ACTIONS                           )           ATTORNEY
       ______________________________________)
 7

 8   TO THE CLERK OF COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 9          PLEASE TAKE NOTICE that effective June 25, 2021, I, David Bernick, as an attorney of record
10   for Juul Labs, Inc. in the above-entitled action, will be changing firms. I was admitted to the Northern
11   District of California on December 18, 2019 as an attorney from the firm Paul Weiss Rifkind Wharton &
12   Garrison LLP, but as of June 25, 2021, I will be an attorney at Kirkland & Ellis LLP. This firm change
13   affects my address, phone number, and email addresses, as shown below.
14          My Address of Record: 1301 Pennsylvania Avenue, N.W.
15                                   Washington, D.C. 20004
16          My Telephone Number of Record: (202) 389-3201
17          My Email Address of Record: david.bernick@kirkland.com
18          All notices, pleadings, and correspondence should be directed to the above address and email
19   address.
20   Dated: June 25, 2021                                Respectfully submitted,
21
                                                        KIRKLAND & ELLIS LLP
22

23                                                      By: /s/ David Bernick
24                                                      David Bernick (pro hac vice)
                                                        KIRKLAND & ELLIS LLP
25                                                      1301 Pennsylvania Avenue, N.W.
                                                        Washington, D.C. 20004
26                                                      Telephone: (202) 389-3201
                                                        Facsimile: (202) 389-5200
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